                               United States Bankruptcy Court
                            Case 3:16-bk-02230-PMG                     Doc 678         Filed 07/21/17           Page 1 of 3



                                             For the Middle District of Florida
                                                                               

                                              In re Rms Titanic, Inc. , Case No. 16-02230
                                                                               


               TRANSFER OF CLAIM OTHER THAN FOR SECURITY
 

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).

Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 

CRG Financial LLC                                                 Syzygy 3
Name of Transferee                                                NAME of Transferor
                                                                   
Name and Address where notices to transferee                      Court Claim# (if known):     6
should be sent:                                                    
                                                                  Amount of Claim:
CRG Financial LLC                                                 Scheduled:              $18,334.00- Premier Exhibitions, Inc.
100 Union Ave                                                     Proofs of Claim:      $18,334.32- RMS Titanic, Inc.
Cresskill, NJ 07626                                               Date Claim Filed:    09/06/2016
                                                                   
Phone:  (201) 266-6988                                            Phone:
Last Four Digits of Acct#:__________                              Last Four Digits of Acct#:__________
                                                                   
Name and Address where Transferee payments                         
should be sent (if different from above);                          
SAME AS ABOVE                                                      

 

 

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and belief.

 

 

 

By:/s/ Allison R. Axenrod         Date: 07/21/2017

Transferee/Transferee’s Agent

 

   

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                             United States Bankruptcy Court
                                          For the Middle District of Florida
                                                                          

                                          In re Rms Titanic, Inc. , Case No. 16-02230
                                                                          

                                                                          


 NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
 

 

Claim No. 6 (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the alleged transferor. As evidence of the 
transfer of that claim, the transferee filed a Transfer of Claim Other than for Security in the clerk’s office of this court on 07/21/2017.

CRG Financial LLC                        Syzygy 3
Name of Alleged Transferee                Name of Transferor
                                          
100 Union Avenue, Cresskill, NJ 07626     231 West 29th Street, Ste.606 , Suite 300 , New York , NY 10001
Address of Alleged Transferee             Address of Transferor

 

 

 

                              ~~DEADLINE TO OBJECT TO TRANSFER~~

 

 

 

The alleged transferor of the claim is hereby notified that objections must be filed with the court within twenty (20) days of the mailing of
this notice. If no objection is timely received by the court, the transferee will be substituted as the original claimant without further order of
the court.

 

 

 

 

Date:_______________________________________

CLERK OF THE COURT

 
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                                                            NOTICE OF TRANSFER AND WAIVER

                                                                                    

Syzygy 3 (“Seller”), sells, transfers and assigns unto CRG Financial LLC, with an address at 100 Union Avenue, Cresskill, NJ 07626, its successors and assigns
(“Purchaser”), pursuant to the terms of a Claim Purchase Agreement between Seller and Purchaser (the “Agreement”), all of Seller’s right, title and interest in, to and
under Seller’s Claim (as defined in the Agreement) against Premier Exhibitions, Inc. or any of its co-debtor subsidiaries or affiliates (the “Debtor”), in the aggregate
amount of not less than $18,334.00, representing all claims of Seller pending against Debtor in the United States Bankruptcy Court, for the Middle District of Florida,
jointly administered as Case No. 16-02230.

Seller hereby waives its right to raise any objection and/or receive notice pursuant to Rule 3001 of the Federal Rules of Bankruptcy Procedures and stipulates that an
order may be entered recognizing the Agreement as an unconditional sale and the Purchaser as the valid owner of the Claim. 


IN WITNESS WHEREOF, Seller has signed below as of 06/02/2017.

By:  /s/ William Chan
        Signature

      William Chan
    Print Name/Title               
     Syzygy 3  

IN WITNESS WHEREOF, Purchaser has signed below as of Thursday, June 22, 2017.

By: /s/ Robert Axenrod
 Robert M. Axenrod, CRG Financial LLC
